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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK                                                    8/2/2022
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                                                              :
 MARTIN J. WALSH, Secretary of Labor,
 United States Department of Labor,                             Civil Action No. 22-cv-5292-AT
                                                              :
                                     Plaintiff,
                                                                :
                   v.
                                                                :
 BOARD OF TRUSTEES OF LOCAL 272
                                                                :
 WELFARE FUND and LOCAL 272 WELFARE
 FUND,
                                                                :
                                     Defendants.
                                                                :
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                                         CONSENT JUDGMENT

        Plaintiff, Martin J. Walsh, Secretary of Labor, United States Department of Labor (the

“Secretary”) has filed a complaint in the above-captioned action against Local 272 Welfare Fund

and the Board of Trustees of Local 272 Welfare Fund (together, “Defendants”), pursuant to the

Employee Retirement Income Security Act of 1974, as amended, 29 U.S.C. § 1001, et seq.

(“ERISA”), including ERISA §§ 502(a)(2) and (5), 29 U.S.C. § 1132(a)(2), (5). The complaint

alleges violations of ERISA in connection with Defendants’ administration of a group health

benefit plan known as the Local 272 Welfare Fund (the “Plan”). Following extensive arms-length

negotiations and discussions, the parties, through counsel, have negotiated this Consent Judgment

to settle the claims in this action. Defendants now waive their answer, waive formal service of the

summons and complaint, and while neither admitting nor denying the allegations in the Complaint,

agree to the entry of this Consent Judgment. The parties agree that this Court has jurisdiction over

the parties and this action, and is empowered to provide the relief herein.

        It is now, upon the Secretary’s motion and for cause shown, ORDERED that:




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       I.      PROSPECTIVE PLAN AMENDMENTS

I.A.        Defendants shall take all steps necessary to ensure that the Plan is amended effective no

later than December 1, 2022, to eliminate the 90% cost-sharing (also referred to herein as 90%

coinsurance) provisions from the Plan. The 90% cost-sharing provisions include any and all

provisions in the Plan that impose on participants and beneficiaries (collectively, “participants”) a

90% cost-sharing/coinsurance responsibility once the Plan has paid certain amounts for hospital

and medical benefits (currently $125,000 annually) and prescription drug plan benefits (currently

$5,000 annually).

I.B.        Defendants agree not to amend the Plan to institute a trigger amount that would require any

participant to pay a higher copay or coinsurance percentage applicable to in-network claims based

on the dollar value of claims that the Fund has previously paid, except in the event that a future

change in federal law may allow the Plan to implement an annual limit. In the event Defendants

intend to amend the Plan to institute such a trigger amount in reliance on a future change in federal

law, Defendants shall notify EBSA in writing no fewer than 120 days before the proposed Plan

amendment is scheduled to take effect. Notice shall be via e-mail to Licetti.thomas@dol.gov and

via First Class Mail to: Regional Director, Employee Benefits Security Administration, 201 Varick

Street, Room 746, New York, NY 10014.

I.C.        Subject to Paragraphs I.A and I.B, the parties understand and agree that nothing in this

Consent Judgment shall prohibit the Plan from maintaining the co-pays and co-insurance amounts

for medical, hospital, and prescription drug benefits as currently set forth at pages 32-34 and 66 of

the Plan’s March 1, 2019 Summary Plan Description, as those may be amended from time to time

consistent with and in accordance with ERISA.




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I.D.         The Parties also understand and agree that nothing in this Consent Judgment shall prohibit

the Plan from imposing on participants higher or different cost-sharing or coinsurance provisions

for out-of-network services, as compared to in-network services, to the extent consistent with the

Plan and ERISA.

I.E.         The Plan shall furnish a summary of the modifications set forth in paragraph I.A above in

accordance with 29 CFR § 2520.102-3.

       II.      RETROSPECTIVE RELIEF

II.A.1. Within thirty days of the effective date of the Plan amendment referenced in para. I.A.

above, Defendants shall send Letter A (in the form on which the Parties have agreed)

simultaneously by: (1) first class mail, and (2) certified mail to those participants or beneficiaries

(collectively “participants”) of the Plan at any time since January 1, 2019 through November 30,

2022, as to whom the Plan’s records indicate the Plan paid amounts on the participant’s behalf in

excess of $125,000 in medical/hospital claims and/or in excess of $5,000 in pharmacy claims in

any calendar year since January 1, 2019. Defendants shall send the letter to the participants as the

case may be at their last known address (or to the estates of deceased participants, if known to the

Plan) 1, notifying participants of the possible availability of the retrospective relief detailed in this

Section II. Should the Plan have Actual Notice that any letter is not received by a participant, the

Plan shall make the reasonable best efforts described in this paragraph within 30 days of such

notice to identify and reach participants (including but not limited to e-mailing a copy of the letter,

and phoning participants to ask for an updated mailing address [and thereafter sending a new copy




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  All references to “participants” in Section II of this Consent Judgment shall be interpreted to
include former participants’ estates, where applicable.


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by First Class Mail]). Actual Notice shall mean that a participant’s letter is returned to the Plan

by the U.S. Postal Service as “undeliverable” or “unclaimed.”

II.A.2. In the event that a participant’s letter is returned to the Plan by the U.S. Postal Service as

“undeliverable,” or “unclaimed,” the Plan will determine if the participant is employed by a

contributing employer and is a current participant in the Plan. If so, the Plan will mail Letter B (in

the form on which the Parties have agreed) to the participant employee, care of the employer,

requesting that the participant employee contact the Plan as soon as possible to update the

participant’s address. If the participant employee provides the Plan with an address in response to

the Plan’s letter, the Plan shall send Letter A by certified mail and by first class mail to that

participant. This provision shall not apply to beneficiary letters returned as “undeliverable” or

“unclaimed.” Instead, for a beneficiary whose letter is returned to the Plan by the U.S. Postal

Service as “undeliverable” or “unclaimed,” the Plan will mail Letter C (in the form on which the

Parties have agreed) to the participant who designated the beneficiary, requesting that that

participant contact the Plan as soon as possible to update the beneficiary’s address. If the

participant provides the Plan with an address in response to the Plan’s letter, the Plan shall send

Letter A by certified mail and by first class mail to that beneficiary.

II.A.3. Participants (including beneficiaries) shall have up to 150 days from the date the Plan sends

Letter A to contact the Plan to request relief hereunder.

II.B.   For any participants who contact the Plan to seek review and retrospective relief in

response to the letter, Defendants shall undertake a review of whether in any calendar year since

January 1, 2019, the participant incurred any out-of-pocket costs as a result of the Plan provision

imposing 90% cost-sharing responsibility on participants for payments in excess of $125,000 for

medical/hospital claims or $5,000 in pharmacy claims. For any participants who incurred out-of-




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pocket costs as a result of the Plan’s 90% cost-sharing provision and for whom there is appropriate

documentation of same submitted to the Plan in the time provided hereunder, the Plan shall

reimburse participants in the amount of the out-of-pocket costs, including any fees, penalties, or

interest incurred by the participant.

II.C.   In determining whether a participant incurred out-of-pocket costs as a result of the Plan’s

90% cost-sharing provision, the Plan may make reasonable requests of participants for

corroborating documentation, provided that the Plan shall accept as conclusive any of the

following, or any other appropriate documentation sufficient to show out-of-pocket costs

(provided that the documentation is connected to a claim to which the 90% cost-sharing provision

applied):

    x   evidence of payment of a provider’s bill by the participant (or any interest, fees or penalties

        connected to the payment of the bill);

    x   evidence of payment by the participant to a collection agency on behalf of a provider (or

        any interest, fees, or penalties connected to the payment);

    x   evidence of a garnishment or lien against a participant arising from an unpaid provider bill;

        or

    x   evidence of court costs or allowed attorney’s fees paid by a participant in a legal proceeding

        commenced due to the 90% cost-sharing provision.

        In order to be entitled to any relief under this Section II, all documentation required herein

shall be provided within 90 days of the participant’s initial request to the Plan under Para. II.A

above. The evidence referred to above shall be subject to the Plan’s right to obtain confirmation

from the provider, collections agency, court or private arbitral forum with knowledge of the

payments, garnishment, lien, or court costs, including attorney’s fees.



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II.D    For any participants who contact the Plan and satisfy the requirements in Para. II.C for

retrospective relief provided herein, the Plan will undertake the following as applicable:

    a. to reimburse the participant for out-of-pocket costs as a result of the 90% cost-sharing

        provision. Defendants shall make best efforts to reimburse such participants within 90

        days of the Plan’s receipt of the documentation referenced in Para. II.C above; and/or

    b. to make reasonable best efforts to resolve any outstanding bill, collection, or collection

        action so that the participant does not incur any out-of-pocket costs as a result of the 90%

        cost-sharing provision (including out-of-pocket costs incurred as a result of interest, fees,

        costs, or penalties arising from collections or a collections action). Such efforts may

        include, without limitation, negotiating an agreement with the provider or collections

        agency for payment to the provider or collection agency for the services for which the 90%

        cost sharing was imposed on the participant, including obtaining a release of the participant

        for any liability for the bills at issue, inclusive of accrued interest, fees, and penalties. The

        Plan shall make best efforts to resolve any outstanding bills or collection actions within 90

        days of the Plan’s receipt of the documentation referenced in Para. II.C. above.

II.E.   For any participant for whom the Plan provides retrospective relief pursuant to this Consent

Judgment, the Plan shall notify in writing such participant of the opportunity to provide evidence

of adverse information in the participant’s credit report related to the bill resolved by the Plan and

to request that Defendants notify each of the three major consumer reporting agencies of the

resolution of this claim and attaching a copy of this Consent Judgment. Prior to providing

notification to the consumer reporting agencies, Defendants may require that such participant

provide written consent prior to Defendants providing such corrective notice to the consumer

reporting agencies.




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II.F.      Defendants shall provide written reports to the Secretary, through the U.S. Department of

Labor’s Employee Benefits Security Administration’s New York Regional Office (using the same

e-mail and mail contact information as in Paragraph I.B), including the following: (1) the identities

of each participant who requested retrospective relief; and (2) a short statement of the reasons why

each claim was granted, denied in part, denied in full, or remains pending. Defendants shall provide

reports every six months during the two-year period following the entry of this Consent Judgment,

with a supplemental report every three months thereafter as long as any retrospective relief claim

remains unresolved with the Plan. Defendants will cooperate with the Secretary’s reasonable

requests for additional information regarding participants’ requests to the Plan for retrospective

relief and regarding the Plan’s adjudication of those requests.

    III.      OTHER TERMS

III.A.     Defendants, jointly and separately, neither admit nor deny the allegations in Plaintiff’s

complaint and in executing this Consent Judgment neither not admit nor deny, and shall not be

deemed to have admitted or denied liability to Plaintiff or any participant in connection with any

allegations by Plaintiff in connection with the complaint.

III.B. The parties agree that the Consent Judgment fully and finally resolves all claims alleged in

Plaintiff’s complaint or that Plaintiff could have been asserted based on the allegations in

Plaintiff’s complaint against Defendants in this matter.

III.C. Defendants acknowledge that they have notice of and understand the provisions of this

Consent Judgment; acknowledge their responsibilities pursuant to this Consent Judgment; and

acknowledge that they may be subject to sanctions in contempt of this Court if they fail to comply

with the provisions of this Consent Judgment.




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